Case 4:24-cv-00698-SDJ-BD           Document 71-1         Filed 07/07/25   Page 1 of 2 PageID #:
                                            1109



                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

IN THE MATTER OF:                                 §
                                                  §
DILIP JANA                                        § Civil Action No. 4:24-cv-00698-SDJ-BD
     Plaintiff,                                   §
                                                  §
v.                                                §
                                                  §
WALMART, INC.,                                    §
     Defendant.                                   §



                                      [PROPOSED] ORDER


Before the Court is Plaintiff s Motion to Set Aside the June 27, 2025 Protective Order (Dkt. 66)
Based on Material Misrepresentation, Local Rule Violation, Due Process Violation, and Fraud
Upon the Court and for Sanctions.

Having considered the Motion, the supporting record, applicable law, and the interests of justice, the
Court finds that:

     • The Protective Order entered on June 27, 2025 (Dkt. 66) was issued based on material
        misrepresentations made by Defendant Walmart Inc.;


     • Defendant s Reply (Dkt. 65) introduced new arguments in violation of Local Rule CV-7(f),
        depriving Plaintiff of a fair opportunity to respond;

     • The entry of Dkt. 66 violated Plaintiff s due process rights under the Fifth Amendment;


     • Defendant’s conduct constitutes fraud upon the Court, undermining the integrity of these
        proceedings;
Case 4:24-cv-00698-SDJ-BD          Document 71-1        Filed 07/07/25      Page 2 of 2 PageID #:
                                           1110


   • Extraordinary circumstances exist warranting relief under Federal Rules of Civil Procedure
       54(b), 60(b)(1), 60(b)(4), and 60(b)(6).


Accordingly, it is ORDERED that:

   1. The Protective Order (Dkt. 66) is VACATED in its entirety.

   2. Defendant s Renewed Motion for Protective Order (Dkt. 63) is DENIED as procedurally
       improper, lacking good cause under Rule 26(c), and violating the exchange first, protect
       second requirement under controlling Fifth Circuit precedent and this Court s prior Order
       (Dkt. 60).

   3. Monetary sanctions are imposed against Defendant Walmart Inc. for reasonable expenses,
       lost time, and prejudice incurred by Plaintiff in addressing Defendant’s discovery misconduct
       and misrepresentations to the Court. Plaintiff shall submit a sworn Cost and Time Affidavit
       within seven (7) days quantifying such expenses for the Court’s review.


   4. Pursuant to Rule 37(c)(1), Defendant Walmart Inc. is precluded from using any
       documents, electronically stored information (ESI), or information not timely disclosed
       in its April 7, 2025 Initial Disclosure or its June 9, 2025 production in support of its
       defenses, dispositive motions, or at trial, due to its failure to comply with mandatory
       disclosure obligations under Rule 26(a) and Rule 26(b)(5).

   5. Defendant Walmart Inc. is precluded from seekin any further protective orders in this
       action absent express leave of Court, with any future requests requiring a specific,
       document-by-document showing under Rule 26(c) and Fifth Circuit standards.


   6. The Court will consider further relief as necessary to protect the integrity of these
       proceedings, deter future misconduct, and safeguard Plaintiff s statutory and
       constitutional rights in this whistleblower retaliation action.



SO ORDERED.

Signed this day of , 2025.




Hon. Bill Davis
United States District Judge
Eastern District of Texas
